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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re
MILAGRO HOLDINGS, LLC, et al.,

Debtors.’

 

In re
MILAGRO HOLDINGS, LLC,
Debtor.

Employer Tax I.D. No. XX-XXXXXXX

 

In re
MILAGRO OIL & GAS, INC.,
Debtor.

Employer Tax I.D. No. XX-XXXXXXX

 

In re
MILAGRO EXPLORATION, LLC,
Debtor.

Employer Tax I.D. No. XX-XXXXXXX

 

 

x

x

Chapter 11
Case No. 15-11520 (KG)

Jointly Administered

Docket Ref. Nos. 305 & 509

Chapter 11

Case No. 15-11520 (KG)

Chapter 11

Case No. 15-11521 (KG)

Chapter 11

Case No. 15-11522 (KG)

The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,

are: Milagro Holdings, LLC (7232); Milagro Oil & Gas, Inc. n/k/a MWO Holdings, LLC (7173); Milagro
Exploration, LLC (9260); Milagro Producing, LLC (9330); Milagro Mid-Continent, LLC (8804); and Milagro
Resources, LLC (6134). The Debtors’ mailing address is 1301 McKinney Street, Suite 500, Houston, Texas

77010.

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In re : Chapter 11
MILAGRO PRODUCING, LLC, Case No. 15-11523 (KG)
Debtor.
Employer Tax I.D. No. XX-XXXXXXX :
x
Chapter 11

In re

Case No. 15-11524 (KG)

MILAGRO MID-CONTINENT, LLC,
Debtor.

Employer Tax I.D. No. XX-XXXXXXX

 

In re : Chapter 11
MILAGRO RESOURCES, LLC, : Case No. 15-11525 (KG)
Debtor.

Employer Tax I.D. No. XX-XXXXXXX

 

x

FINAL DECREE CLOSING CERTAIN CASES
AND AMENDING CAPTION OF REMAINING CASE

Upon consideration of the Certification of Counsel,” filed on behalf of the above-
captioned debtors (collectively, the “Debtors”), requesting entry of (i) a final decree order
closing the chapter 11 cases of certain of the Debtors as of the Effective Date and (ii) an order
amending the case caption of the remaining case of the Reorganized Debtor; and the Court
having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware

 

* Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Certification of

Counsel.

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dated as of February 29, 2012; and this matter being a core proceeding pursuant to 28 U.S.C.
§ 157(b)(2); and it appearing that the relief requested is in accordance with the terms of the
Confirmation Order; and after due deliberation and sufficient cause appearing therefor,
IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
1. Each of the following cases (the “Closing Cases”) shall be closed, effective as of
the Effective Date of the Plan (i.e., October 30, 2015):
e Milagro Holdings, LLC, Case No. 15-11520 (KG);
e Milagro Exploration, LLC, Case No. 15-11522 (KG);
e Milagro Producing, LLC, Case No. 15-11523 (KG);
e Milagro Mid-Continent, LLC, Case No. 15-11524 (KG); and
e Milagro Resources, LLC, Case No. 15-11525 (KG)
2. This Order shall be entered on the docket of each of the Closing Cases.
3. Entry of this Order is without prejudice to (a) the rights of any Debtor or other
party in interest to seek to reopen any of the Closing Cases for cause pursuant to section 350(b)
of the Bankruptcy Code, and (b) the right of the Reorganized Debtor, on behalf of any Debtor, to
dispute, object to or resolve all claims that were filed against the Debtors in the chapter 11 cases.
4. The Reorganized Debtor’s case shall no longer be jointly-administered with

Milagro Holdings, LLC and, instead, shall be administered under the following caption:

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re : Chapter 11

MILAGRO OIL & GAS, INC., n/k/a MWO : Case No. 15-11521 (KG)
Holdings, LLC, :

Reorganized Debtor.’
x

 

1. The last four digits of the Reorganized Debtor’s federal tax identification number are 7173, and the
Reorganized Debtor’s mailing address is 1301 McKinney Street, Suite 500, Houston, Texas 77010. The chapter 11
cases of the following affiliates of the Reorganized Debtor were closed effective as of October 30, 2015: Milagro
Holdings, LLC (7232); Milagro Exploration, LLC (9260); Milagro Producing, LLC (9330); Milagro Mid-
Continent, LLC (8804); and Milagro Resources, LLC (6134). [See Chapter 11 Case No. 15-11520, Docket
No. __].

5. All pending and future matters relating to each of the Debtors, including
objections to claims and final fee applications, shall be administered and heard in the Remaining
Case.

6. The Reorganized Debtor shall make payments of U.S. Trustee fees payable
pursuant to 28 U.S.C. § 1930, in accordance with the terms of the Plan and Confirmation Order.

Dated: April A. 2016
Wilmington, Delaware

KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE

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